         Case 4:18-cv-00500-JM              Document 640           Filed 12/18/24    Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    CENTRAL DIVISION


ZEST LABS, INC. formerly known as
INTELLEFLEX CORPORATION and
ECOARK HOLDINGS, INC.                                                               PLAINTIFFS

V.                                                 4:18CV500 JM

WAL-MART INC. formerly known as
WAL-MART STORES INC.                                                                DEFENDANT


                                                   ORDER

        Pursuant to the Motion and communication with the parties, 1 Defendant’s Motion to

Voluntarily Dismiss the Counterclaim (ECF No. 633) is GRANTED. The counterclaim is

dismissed with prejudice.

        IT IS SO ORDERED this 18th day of December, 2024.



                                                             ____________________________
                                                             James M. Moody Jr.
                                                             United States District Judge




1 The Defendant has agreed to dismiss the counterclaim with prejudice.
